AO 2458 (NCMD Rev. 02/18) Sheet 1 - Judgment in a Crimina| Case

 

unitedstates District court

Midd|e District of North Caro|ina
uNrrED srATEs oF AMER\oA JuDGMENT lN A chMlNAL cAsE

v.
Case Nurnber: 1:17-CR-00209~4

 

DANYEL-ROY K|ERAN LEMONS-K|NG
USM Number: 33869~057

James B|ake|y Norman
Defendant’s Attorney

 

THE DEFENDANT:

pleaded guilty to counts 8s and 93.

l:] pleaded nolo contendere to count(s) _ which was accepted by the court.
[___l was found guilty on count(s) ____ after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Tit|e & Section Nature of Offense Offense Ended Count
18:1028A(a)(1) Aggravated identity Theft l\/|ay 12, 2017 85, 9s

The defendant is sentenced as provided in pages 2 through 8 of this judgmentl The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

[] The defendant has been found not guilty on count(s)

Counts 1, 8-9 of the original indictment H|ed |\/lay 30, 2017 and Counts 1s and 123 of the superseding indictment filed June 27, 2017, are
dismissed on the motion of the defendant without objection from the United States.

_ |T |S ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, _or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are fully paid. |f ordered to
pay restrtution, the defendant shall notify the court and United States attorney of any material change in the economic circumstances

September 18. 2018

Date ohnw&itigr?idgment w

 

Signature of Judge

Thomas D. Schroeder, United States District Judge

 

Name&Tit|e ofJudge §elé 6 3 29 /g

 

Date

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AO 245B (NCMD Rev. 02/18) Sheet 2 ~ imprisonment Page 2 of 8

DEFENDANT: DANYEL-ROY K|ERAN LE|\/lONS-K|NG
CASE NU|\/|BER; 1117-CR-00209-4

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
40 months.

[24 months on Count 88 and 16 months on Count 95 to run consecutive to Count 8s.]

The court makes the following recommendations to the Bureau of Prisons: That the defendant be designated to a facility as close as
possible to Char|otte, North Caro|ina and be permitted to participate in vocational training programs

The defendant is remanded to the custody of the United States l\/larsha|.

El The defendant shall surrender to the United States l\/|arsha| for this district
l:l at am/pm on

m as notified by the United States Marsha|.

[l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 pm on
l:| as notified by the United States Marsha|.

[:l as notified by the Probation or Pretria| Services thce.

RETURN

| have executed this judgment as follows:

Defendant delivered on to at

, with a certified copy of this judgment.

 

 

UN|TED STATES MARSHAL

BY

 

DEPUTY UNlTED STATES MARSHAL

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AO 2458 (NCMD Rev. 02/18) Sheet 3 - Supervised Reiease Page 3 of 8

DEFENDANT: DANYEL-ROY K|ERAN LE|V|ONS-K|NG
CASE NUMBER: 1217-CR-00209-4

SUPERV|SED RELEASE

Upon release from imprisonment you will be on supervised release for a term of: One (1) year.

[One (1) year on each of Counts 8s and 9s to run concurrent with each other.]

MANDATORY CONDIT|ONS

You must not commit another federai, state or local crime.
You must not unlawfully possess a controlled substance
You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafterl as determined by the court.
|:\ The above drug testing condition is suspended based on the court`s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable )
4. i:i You must make restitution in accordance with 18 U.S.C §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicab/e)

5. You must cooperate in the collection of DNA as directed by the probation ocher. (Check, if applicable )

6. i:l You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C § 20901, et seq.) as
directed by the probation ocher, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work, are a
student, or were convicted of a qualifying offense (Check, if applicab/e.)

7. i:i You must participate in an approved program for domestic violence. (Check, if applicable )

.°°.N._‘

You must comply with the standard conditions that have been adopted by this court as weil as with any other conditions on the attached
page.

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DEFENDANT: DANYEL-ROY K|ERAN LEl\/lONS-K|NG
CASE NUMBER; 1517-CR-OO209-4

STANDARD CONDIT|ONS OF SUPERV|S|ON

As part of your supervised reiease, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you
must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court
or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. if you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change if notifying the
probation officer in advance is not possible due to unanticipated circumstances you must notify the probation officer within 72 hours of
becoming aware of a change or expected change

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of empioyment, unless the probation officer excuses you from doing

so. if you do not have full-time employment you must try to find full-time empioyment, unless the probation officer excuses you from doing
so. if you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify
the probation officer at least 10 days before the change. if notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change

8. You must not communicate or interact with someone you know is engaged in criminal activity. if you know someone has been convicted
of a felonyl you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9. if you are arrested or questioned by a law enforcement officer, you must notify the probation ofhcer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a conidential human source or informant without first
getting the permission of the court.

12. if the probation oficer determines that you pose a risk to another person (inciuding an organization), the probation ocher may require you
to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
that you have notified the person about the risk.

13. You must follow the instructions of the probation ofhcer related to the conditions of supervision.

U.S. Probation Office Use Oniy

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Re/ease Cond/'tions,

available at: www.uscourts.gov_.

Defendant’s Signature Date

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AO 2458 (NCMD Rev. 02/18) Sheet 30 - imprisonment Specia| Conditions Page 5 of 8

DEFENDANT: DANYEL-ROY K|ERAN LE|V|ONS-KlNG
CASE NUN|BERI 1117-CR-00209-4

SPEC|AL COND|T|ONS OF SUPERV|S|CN

The defendant shall provide any requested financial information to the probation ocher.
The defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation officer.

The defendant shall submit to substance abuse testing, at any time, as directed by the probation ocher. The defendant shall cooperativer
participate in a substance abuse treatment program, which may include drug testing and inpatient/residential treatment, and pay for treatment
services, as directed by the probation officer. During the course of treatment, the defendant shall abstain from the use of alcoholic beveragesl

The defendant shall cooperatively participate in a mental health treatment program, which may include inpatient treatment, and pay for treatment
services, as directed by the probation officer.

The defendant shall submit his person, residence office, vehicle, or any property his control to a warrantless search. Such a search shall be
conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of release Faiiure to submit to such a search may be grounds for revocation; the defendant
shall warn any residents that the premises may be subject to searches.

The defendant shall participate in a vocational services program as directed by the probation officer, and pay for the program as directed by the
probation officer. Such programs may include on-the-job training, job readiness training, and skills development training.

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AO 2458 (NCMD Rev. 02/18) Sheet 5 - Criminal Monetary Penalties Page 6 of 8

 

DEFENDANT: DANYEL-ROY K|ERAN LEN|ONS-KING
CASE NUMBER: 1217-CR-00209-4

CR|M|NAL MCNETARY PENALT|ES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment*
TOTALS $200.00

m _RLSfi__fM
$.00 $.OO
The determination of restitution is deferred until __
be entered after such determination

.An Amended Judgmentin a Criminal Case (AO 245C) will

i:\ The defendant must make restitution (inciuding community restitution) to the following payees in the amount listed below.

if the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column beiow. However, pursuant to 18 U.S.C. § 3664(i), ali nonfederal victims must be paid
before the United States is paid.

[:i Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
Hfteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
l:l the interest requirement is waived pursuant to 18 U.S.C. Section 3612(f)(3) for the El fine ij restitution.

E the interest requirement for the E fine l:l restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Tit|e 18 for offenses committed on
or after September 13, 1994, but before Apri| 23, 1996.

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AO 2458 (NCMD Rev. 02/18) Sheet 6 - Schedule of Payments Page 7 of 8

DEFENDANT: DANYEL-ROY K|ERAN LE|V|ONS-KiNG
CASE NUMBER; 1117-CR-00209-4

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties is due as follows:

A Lump sum payment of $ 200.00 due immediateiy, balance due
§ not later than , or

in accordance with i:i C, [i D, l:] E, or Fbeiow; or

B l:i Payment to begin immediately (may be combined with |:i C, Ei D, or [i F beiow); or

C [l Payment in equal (e.g. week/y, month/y, qua/fen'y) installments of $ over a period of (e.g., months or years),
to commence _______________________________________ (e.g., 30 or 60 days) after the date of this judgment; or

D i:l Payment in equal ___________________________________________ (e.g. weekly, monthly, quarteriy) installments of $ _________________________________________ over a period of _______________________________________________ (e.g., months or years),
to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E Ei Payment during the term of supervised release will commence within ________________________________ (e.g., 30 or 60 days) after release from imprisonment

The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Speciai instructions regarding the payment of criminal monetary penalties: To the extent the defendant cannot immediately comply,
the Court recommends the defendant participate in the inmate Financial Responsibility Program.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment payment of criminal monetary penalties is due during
imprisonment All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ inmate Financial
Responsibility Program, are to be made to the Cierk of Court, United States District Court for the Middie District of North Caro|ina, 324 West
l\/larket Streetl Greensboro, NC 27401-2544, unless othen/vise directed by the court, the probation of&cerl or the United States Attorney.
Nothing herein shall prohibit the United States Attorney from pursuing collection of outstanding criminal monetary penalties.

The defendant shall receive credit for ali payments previously made toward any criminal monetary penalties imposed

[:i Joint and Several

Defendant and Co-Defendant Names, Case Numbers (including defendantnumber), Tota| Amount, Joint and Several Amount, and
corresponding payee, if appropriate

g The defendant shall pay the cost of prosecution

|:l The defendant shall pay the following court cost(s):

[:i The defendant shall forfeit the defendants interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine principai, (5)
fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.

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AO 2455 (NCMD Rev. 02/18) Sheet 6 - Schedule of Payments

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DEFENDANT: DANYEL-ROY K|ERAN LEMONS-K|NG
CASE NU|V|BER: 1117-CR-00209-4

DlSPOST|ON OF EV|DENCE

That at the expiration of time for appeai, the property seized from the defendant shall be destroyed.

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